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                      8                            UNITED STATES DISTRICT COURT
                      9                          NORTHERN DISTRICT OF CALIFORNIA
                     10                                SAN FRANCISCO DIVISION
                     11 ZACHARY ZEFF, an individual, on behalf Case No. 3:20-CV-07122-EMC-KAW
                        of himself and on behalf of others similarly
                     12 situated,                                    ASSIGNED FOR DISCOVERY
                                                                     PURPOSES TO MAGISTRATE JUDGE
                     13               Plaintiff,                     KANDIS A. WESTMORE
                     14                vs.                           ORDER RE FOURTH STIPULATION
                                                                     TO EXTEND TIME
                     15 GREYSTAR CALIFORNIA, INC., a
                        Delaware Corporation,                        Judge:           Hon. Edward M. Chen
                     16
                                    Defendant.                       Complaint Filed: October 13, 2020
                     17                                              Trial Date:      None Set
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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            4861-2911-4414.1     ORDER RE FOURTH STIPULATION TO EXTEND TIME
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                      1                The Court, having reviewed the Fourth Stipulation to Extend Time filed by Non-
                      2 parties DWF V. Wilshire Vermont, LP; Harbor Park Apartments, LP; and Kensington
                      3 Apartments, LP (collectively, “Non-Parties”) and Plaintiff Zachary Zeff (“Plaintiff”), and
                      4 good cause appearing therefor, hereby ORDERS as follows:
                      5                1.      The Fourth Stipulation to Extend Time is GRANTED.
                      6                2.      Non-Parties’ deadline to serve or file any objection and/or file a motion for a
                      7 protective order regarding the notice received by Non-Parties on June 6, 2022, pursuant to
                      8 section 9(c) of the protective order in this action, Docket No. 36, is extended to and
                      9 includes August 31, 2022.
                     10                IT IS SO ORDERED.
                     11
                     12                       August 24, 2022
                                       DATED: ______________
                                                                                  KANDIS A. WESTMORE
                     13                                                           United States Magistrate Judge,
                     14                                                           United States District Court,
                                                                                  Northern District of California
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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                     -2-
                            4861-2911-4414.1           ORDER RE FOURTH STIPULATION TO EXTEND TIME
